     Case 4:20-cv-01254      Document 208        Filed on 11/21/23 in TXSD         Page 1 of 3
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                         IN THE UNITED STATES DISTRICT COURT                           November 21, 2023
                         FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk

                                  HOUSTON DIVISION

A.B., et al.,                                     §
                                                  §
         Plaintiffs,                              §
v.                                                §   CIVIL ACTION NO. 4:20-cv-1254
                                                  §
SALESFORCE, INC.,                                 §
                                                  §
         Defendant.                               §

                                             ORDER

        Plaintiffs in their Response to Defendant's Motion for Summary Judgment explicitly

pointed out that Plaintiffs' ability to prove their case was not an issue in the recent motion for

summary judgment on which this Court has just ruled, because discovery has been limited to

resolving whether Salesforce is entitled to § 230 immunity. Despite the fact that the Defendant's

motion did not move on the actual substantive claims, Defendant attached a footnote to the last

sentence before its conclusion, seemingly inviting the Court to address the actual merits. The

footnote reads as follows:

        Even if FOSTA did not require proof that Salesforce' s conduct violated section
        1591 (it does), plaintiffs' section 1595 claim still would be barred because the
        record conclusively shows that Salesforce did not "participate" in a sex-trafficking
        venture, as section 1595 requires. The record also establishes that Salesforce lacked
        the knowledge section 1595 requires about the particular circumstances
        surrounding plaintiffs' trafficking.

(Doc. No. 160 at 25, n. 23) (internal citations omitted).

        In their Response, Plaintiffs strongly objected to the suggestion that the Court should rule

on the factual merits. (Doc. No. 169 at 26-29). This Court ultimately decided that, even if one

considered this footnote to be an invitation to go beyond the § 230 immunity raised in the motion,

it was an invitation that the Court must refuse. This refusal should not be surprising to Salesforce,
  Case 4:20-cv-01254          Document 208         Filed on 11/21/23 in TXSD          Page 2 of 3




because in its Reply to Plaintiffs' obvious concern, Salesforce assumed the Court would not reach

the merits:

        Plaintiffs' protests about the "premature resolution" of the merits of their section
        1595 claim are irrelevant. This Court need not reach the merits of plaintiffs' claims
        to grant Salesforce's motion. Salesforce is entitled to summary judgment because
        plaintiffs' section 1595 claim is barred by section 230, and no FOSTA exemption
        applies because there is no dispute that Salesforce did not violate section 1591. This
        Court need go no further to dispense with plaintiffs' section 1595 claim.

(Doc. No. 171 at 22) (internal citations and footnote omitted).

        This Court, in fact, meticulously studied the record and the briefing in order to discern

whether a viable path existed to resolve the entire case, so that the parties could quickly obtain a

definitive ruling from the Fifth Circuit on these two important and controlling legal questions. The

Court kept in mind the fact that, while it allowed significant discovery, it did not give the Plaintiffs

carte blanche because it limited discovery to the points that were eventually raised in the summary

judgment motion. Ultimately, the Court concluded that there was no course of action available to

completely resolve this case in a manner that would comport with the prevailing rules of civil

procedure, the prior orders of this Court, and the overall interests of justice and fair play to both

sides. The Court's decision that it must limit its ruling without consideration of the ultimate merits

does not diminish the importance of the legal questions presented by Salesforce's motion.

        Therefore, pursuant to Federal Rule of Appellate Procedure 5(a)(3) and 28 U.S.C.

§ 1292(b), the Court hereby certifies that its Order on the Defendant's Motion for Summary

Judgment involves controlling issues of law as to which there may be substantial grounds for

differences of opinion. An immediate resolution of these issues on appeal would materially

advance the termination of this litigation. Additionally, this Court and many others have other

cases involving the same critical issues.



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  Case 4:20-cv-01254           Document 208       Filed on 11/21/23 in TXSD           Page 3 of 3




       Broadly stated, the over-arching issue is whether Defendant, Salesforce, Inc., is entitled to

immunity pursuant to§ 230 of the Communications Decency Act. Specifically, the issues are: (1)

is the Defendant, Salesforce, Inc., a provider of an "interactive computer service," such that it

qualifies as an entity entitled to the protection of the immunity provisions of § 230; (2) has

Salesforce been sued as a publisher or speaker in such a manner that it would be entitled to invoke

the immunity provisions of§ 230; and (3) if Salesforce is a provider of "interactive computer

services," and has been sued as publisher or speaker, may Plaintiffs nevertheless proceed with their

federal (18 U.S.C. § 1595) and state (Tex. Civ. Prac. & Rem. Code§ 98.002(a)) law claims under

the Fight Online Sex Trafficking Act's ("FOSTA") exception to § 230 immunity codified in

47 U.S.C.§ 230(e)(5)? Obviously in its Order on Salesforce's Motion for Summary Judgment, the

Court found the answer to the first question was 'yes' and the answer to the second question was

'no,' such that it did not need to address the third question.

       It is further ordered that the case is stayed until the later of the following time periods: (1)

60 days from the date of this Order if Salesforce has not opted to seek interlocutory review; (2) 30

days after the Fifth Circuit refuses to consider the appeal in an interlocutory fashion if Salesforce

opts to appeal; or (3) 60 days after the Fifth Circuit issues its ruling if Salesforce appeals and the

Fifth Circuit accepts the case for interlocutory review. Counsel are to file a joint report in 60 days

to inform the Court of the status of the case. If an appeal is taken, the parties need not comply at

this time with the Court's Order to meet and confer regarding a proposed scheduling order.

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       Signed this Z.I day of November 2023.



                                                                 Andrew S. Hanen
                                                                 United States District Judge


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